        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 1 of 48




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
 ANDREW G. MCCABE.,                              )
                                                 )
                Plaintiff,                       )
                                                 )       Case No. 1:19-CV-2399-RDM
        v.                                       )
                                                 )
 WILLIAM P. BARR, in his official capacity       )
 as Attorney General of the United States, et    )
 al.,                                            )
                                                 )
                Defendants.                      )
                                                 )
                                                 )


               MOTION TO DISMISS AND FOR SUMMARY JUDGMENT

        Defendants hereby move to dismiss, in part, Plaintiff’s complaint, under Federal Rules

of Civil Procedure 12(b)(1) and 12(b)(6), and seek summary judgment as to the remainder of the

complaint, under Federal Rule of Civil Procedure 56, as described, and for the reasons contained,

in the accompanying memorandum.


Dated: November 1, 2019                              Respectfully submitted,

                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     CHRISTOPHER R. HALL
                                                     Assistant Branch Director

                                                     /s/ Justin M. Sandberg
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Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 2 of 48




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       Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 3 of 48




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                               )
ANDREW G. MCCABE.,                             )
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              Plaintiff,                       )
                                               )   Case No. 1:19-CV-2399-RDM
       v.                                      )
                                               )
WILLIAM P. BARR, in his official capacity      )
as Attorney General of the United States, et   )
al.,                                           )
                                               )
              Defendants.                      )
                                               )
                                               )


 MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND FOR SUMMARY
                         JUDGMENT
            Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 4 of 48




                                                  TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 4

ARGUMENT ................................................................................................................................ 10

  I.      The CSRA Precludes McCabe’s Statutory and Regulatory Claims ................................. 10

  II.     Plaintiff’s Constitutional Due Process Claims Lack Merit ............................................... 14

          A.      Plaintiff Has No Property Interest in His Former Job or Its Benefits ...................... 15

          B.      Plaintiff Has Waived His Bias Allegations .............................................................. 17

          C.      Plaintiff Has Not Stated a Plausible Claim of Bias.................................................. 19

          D.      Plaintiff Had Ample Time to Respond to the Notice of Proposed Removal ........... 23

  III. Plaintiff’s Removal Did Not Violate the First Amendment ............................................. 26

CONCLUSION ............................................................................................................................. 31




                                                                     i
            Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 5 of 48




                                                TABLE OF AUTHORTIES

Cases

Abhe & Svoboda, Inc. v. Chao,
  508 F.3d 1052 (D.C. Cir. 2007) ................................................................................................ 19

Am. Mfrs. Mut. Ins. Co. v. Sullivan,
 526 U.S. 40 (1999) .................................................................................................................... 15

Am. Postal Workers Union, AFL-CIO v. U.S. Postal Service,
 707 F.2d 548 (D.C. Cir. 1983) .................................................................................................. 16

Aref v. Lynch,
  833 F.3d 242 (D.C. Cir. 2016) .................................................................................................. 17

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) ...................................................................................................... 19, 20, 23

Ass’n of Nat. Advertisers, Inc. v. FTC,
  627 F.2d 1151 (D.C. Cir. 1979) ................................................................................................ 21

Bloch v. Powell,
  227 F. Supp. 2d 25 (D.D.C. 2002), aff’d, 348 F.3d 1060 (D.C. Cir. 2003) .............................. 17

Cayuga Nation v. Bernhardt,
 374 F. Supp. 3d 1 (D.D.C. 2019) .............................................................................................. 18

Clark v. Library of Congress,
  750 F.2d 89 (D.C. Cir. 1984) .................................................................................................... 27

Cleveland Bd. of Educ. v. Loudermill,
  470 U.S. 532 (1985) .................................................................................................................. 23

Crosby-Bey v. Dist. of Columbia,
  786 F.2d 1182 (D.C. Cir. 1986) ................................................................................................ 15

Dave v. D.C. Metro. Police Dep’t,
 926 F. Supp. 2d 247 (D.D.C. 2013) .......................................................................................... 16

De Llano v. Berglund,
 282 F.3d 1031 (8th Cir. 2002) ................................................................................................... 28

Doe v. U.S. Dep’t of Justice,
 753 F.2d 1092 (D.C.Cir.1985) .................................................................................................. 16


                                                                    ii
            Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 6 of 48




Douglas v. Veterans Admin.,
 5 M.S.P.R. 280 (1981)................................................................................................................. 2

Duffy v. Selsky,
 No. 95-cv-0474, 1996 WL 407225 (S.D.N.Y. July 18, 1996) .................................................. 15

Elrod v. Burns,
  427 U.S. 347 (1976) .................................................................................................................. 26

Filebark v. U.S. Dep’t of Transp.,
  555 F.3d 1009 (D.C. Cir. 2009) .......................................................................................... 13, 14

Fornaro v. James,
  416 F.3d 63 (D.C. Cir. 2005) .............................................................................................. 12, 14

Free Enter. Fund v. Pub. Co. Accounting Oversight Bd.,
  561 U.S. 477, (2010) ................................................................................................................. 22

Gardner v. United States,
 No. CIV A. 96-1467, 1999 WL 164412 (D.D.C. Jan. 29, 1999), aff’d, 213 F.3d 735 (D.C.
 Cir. 2000) .................................................................................................................................. 14

Graham v. Ashcroft,
 358 F.3d 931 (D.C. Cir. 2004) ...................................................................................... 10, 13, 14

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 560 F.3d 495 (D.C. Cir. 2009) ............................................................................................ 12, 14

Holmes v. Poskanzer,
 342 F. App’x 651 (2d Cir. 2009) ............................................................................................... 22

Johnson v. George,
  No. 05-cv-157-MPT, 2007 WL 1697276 (D. Del. June 12, 2007), aff’d, 299 F. App’x 139
  (3d Cir. 2008) ............................................................................................................................ 24

Lamb v. Holder,
  82 F. Supp. 3d 416 (D.D.C. 2015) ...................................................................................... 13, 16

Louisiana Ass’n of Indep. Producers & Royalty Owners v. F.E.R.C.,
  958 F.2d 1101 (D.C. Cir. 1992) ................................................................................................ 24

Mack v. United States,
 814 F.2d 120 (2d Cir.1987) ....................................................................................................... 16

Marcus v. Dir., Office of Workers’ Comp. Programs, U. S. Dep’t of Labor,
 548 F.2d 1044 (D.C. Cir. 1976) ................................................................................................ 18

                                                                       iii
             Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 7 of 48




McBryde v. Comm. to Review Circuit Council Conduct & Disability Orders of the Judicial
Conference of the U.S.,
 83 F. Supp. 2d 135 (D.D.C. 1999), aff’d in part, vacated in part, 264 F.3d 52 (D.C.
 Cir. 2001) ....................................................................................................................... 24, 25, 26

Morrissey v. Brewer,
 408 U.S. 471 (1972) ............................................................................................................ 23, 25

Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle,
 429 U.S. 274 (1977) .................................................................................................................. 27

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  694 F.2d 255 (11th Cir. 1982) ................................................................................................... 16

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  135 F.3d 148 (D.C. Cir. 1998) ............................................................................................ 18, 20

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  268 F. Supp. 3d 55 (D.D.C. 2017), aff’d, No. 17-7122, 2018 WL 1052650 (D.C. Cir. Jan. 26,
  2018).......................................................................................................................................... 19

Spagnola v. Mathis,
  859 F.2d 223 (D.C. Cir. 1988) .................................................................................................. 13

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  842 F. Supp. 2d 215 (D.D.C. 2012) .......................................................................................... 19

Thompson v. Dist. of Columbia,
  530 F.3d 914 (D.C. Cir. 2008) .................................................................................................. 15

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  852 F.3d 786 (8th Cir. 2017) ..................................................................................................... 26

Throckmorton v. Nat’l Transp. Safety Bd.,
  963 F.2d 441 (D.C. Cir. 1992) .................................................................................................. 20

Twist v. Meese,
  854 F.2d 1421 (D.C. Cir. 1988) ................................................................................................ 14

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 484 U.S. 439 (1988) ........................................................................................................... passim

Vill. of Bensenville v. Fed. Aviation Admin.,
  457 F.3d 52 (D.C. Cir. 2006) .............................................................................................. 18, 19



                                                                        iv
             Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 8 of 48




Vitarelli v. Seaton,
  359 U.S. 535 (1959) .................................................................................................................. 13

Wilburn v. Robinson,
 480 F.3d 1140 (D.C. Cir. 2007) .................................................................................... 27, 29, 30

Williams v. Johnson,
 701 F. Supp. 2d 1 (D.D.C. 2010) .............................................................................................. 27

Withrow v. Larkin,
 421 U.S. 35 (1975) .................................................................................................................... 21

Statutes

5 U.S.C. APP. 3 § 2 ........................................................................................................................ 5

5 U.S.C. § 2301 ............................................................................................................................. 11

5 U.S.C. § 2302 ............................................................................................................................. 13

5 U.S.C. § 4301 ............................................................................................................................. 11

5 U.S.C. § 7501 ............................................................................................................................. 11

5 U.S.C. § 7511 ................................................................................................................. 11, 12, 16

5 U.S.C. § 7513 ............................................................................................................................. 11

5 U.S.C. § 7703 ............................................................................................................................. 11

5 U.S.C. § 8412(d)(2) ................................................................................................................... 16

5 U.S.C. § 8905(b) ........................................................................................................................ 17

Constitutional Law
U.S. CONST. art. II, § 2, cl. 2……………………………………………………………………..22

Regulation
8 C.F.R. § 0.29e(d).......................................................................................................................... 1

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  https://www.amazon.com/Threat-Protects-America-Terror-Trump-ebook/dp/B07HFMYQPG
  .................................................................................................................................................... 17
                                                                           v
            Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 9 of 48




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Announces Bradley Weinsheimer to Replace Departing Associate Deputy Attorney General Scott
Schools (July 3, 2018),
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  replace-departing-associate .......................................................................................................... 7

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 https://www.fbi.gov/about/leadership-and-structure ............................................................... 6–7

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  will-as-assistant-director-for-office-of-professional-responsibility ............................................. 5

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Allegations Relating to Former FBI Deputy Director Andrew McCabe” (Feb. 2018),
 https://oig.justice.gov/reports/2018/o20180413.pdf ............................................................ 1–2, 5




                                                                   vi
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 10 of 48




                                        INTRODUCTION

       The Federal Bureau of Investigation’s motto is “Fidelity, Bravery, Integrity.” The men

and women of the FBI take those words—and the ideals behind them—very seriously. As

explained by former Assistant FBI Director Candice Will, then-head of the FBI’s Office of

Professional Responsibility, “our integrity is our brand. Without it, we are nothing.” Letter from

Will to Andrew McCabe (“FBI Rec.”) at 15 (Mar. 7, 2018) (attached as Ex. 1). Because of its

institutional devotion to these principles, if the FBI finds that one of its Special Agents lacked

candor under oath, the standard penalty is removal. Id. at 14.

       Andrew G. McCabe was one of those Special Agents. Indeed, prior to his March 2018

removal, Mr. McCabe was not just any Special Agent: He was the Deputy Director of the FBI,

the second-highest-ranking official in the Bureau. And he did not get that job by accident. He

earned it, through a long record of distinguished service to the Bureau and to the United States.

But in the FBI, a lofty position does not lessen the need to abide by the ideals memorialized in its

motto. To the contrary, the Deputy Director must lead first by example. Again, to quote former

Assistant Director Will, “the Deputy Director . . . [is] the second-highest position in the FBI,” and

the person holding that job is “expected to comport [him]self with the utmost integrity.” Id. at 15.

       Mr. McCabe’s actions here fell short of that bar. After a lengthy investigation, the

Department’s Inspector General found, as detailed in a 34½-page report, that Plaintiff had

repeatedly lacked candor under oath (and not under oath, too) in interviews with its investigators

and with agents from the FBI’s Inspection Division. (The Inspector General also found that

Plaintiff had improperly authorized the confirmation of an ongoing investigation to the press.)

Following standard practice—and the applicable regulation, 8 C.F.R. § 0.29e(d)—the Inspector

General then transmitted his report to the FBI for “such action as it deem[ed] appropriate.” U.S.

Department of Justice, Office of Inspector General, “A Report of Investigation of Certain
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 11 of 48




Allegations Relating to Former FBI Deputy Director Andrew McCabe,” (“OIG Rpt.”) (Feb. 2018),

https://oig.justice.gov/reports/2018/o20180413.pdf.    Assistant Director Will, a career official,

agreed almost entirely with the Inspector General’s findings, departing only on the question of

whether one of Mr. McCabe’s interviews was under oath. FBI Rec. at 1, 12–15.

       The next question—one outside the scope of the Inspector General’s mandate and thus left

unaddressed by his report—was what the consequence of these findings should be for Plaintiff.

The obvious answer lay in the words of the motto and the ethos of the Bureau: Removal from the

FBI for conduct “incompatible with the FBI’s Core Values.” FBI Rec. at 15. And based on her

careful review and consideration of the Inspector General’s report, FBI Offense Codes, and the

Douglas factors,1 removal is what Assistant Director Will recommended.

       Because Plaintiff was the Bureau’s second-highest-ranking official, Assistant Director Will

did not have the last word in the matter. The Attorney General is the final decision maker for top-

ranking Bureau officials like Plaintiff.     But the Attorney General would receive another

recommendation first. This one would come from Associate Deputy Attorney General (ADAG)

Scott Schools, who was the highest-ranking career official in the Department of Justice.

       Mr. McCabe was given seven days to provide oral and written responses to the notice of

proposed removal to ADAG Schools. That response period was a departure from the 30-day

response period more frequently provided for a proposed removal. But FBI policy governing the

removal of Senior Executive Service (SES) employees provides that “if there is reasonable cause

to believe the employee has committed a crime for which a sentence of imprisonment can be

imposed, the advance notice may be curtailed to as little as seven days.” FBI SES Policy at 16



1
 The Douglas factors, derived from the Merit Systems Protection Board’s decision in Douglas v.
Veterans Admin., 5 MSPB 313, 5 M.S.P.R. 280, 305–06 (1981), are used to determine the
appropriate penalty for employee misconduct.
                                                2
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 12 of 48




(attached as Ex. 2). Given the Inspector General’s findings that Mr. McCabe lacked candor under

oath, findings which Assistant Director Will seconded after her independent assessment, there was

reasonable cause to believe that Mr. McCabe had committed a crime for which a sentence could

be imposed—and, therefore, a sound basis for affording Mr. McCabe seven days to respond.

       No matter: Mr. McCabe’s responses were extensive and sophisticated. Mr. McCabe

testified at an oral hearing before ADAG Schools and, through his legal team, presented four hours

of factual and legal arguments against his proposed removal. The next day, Mr. McCabe’s lawyers

submitted an 11-page, single-spaced response to the notice of proposed removal. Ultimately, after

considering the record, including Mr. McCabe’s extensive responses, ADAG Schools found what

the Inspector General and Assistant Director Will had earlier found: That Plaintiff had lacked

candor, both under oath and not, and had improperly revealed the existence of an ongoing

investigation to the press. ADAG Schools also recommended that Plaintiff be removed from the

FBI. The Attorney General adopted ADAG Schools’ recommendation, removing Plaintiff from

the FBI and the Civil Service.

       Mr. McCabe has now filed this suit challenging his dismissal. He raises more than a dozen

claims, but none of them finds its mark. In many of his claims, Plaintiff asserts that Defendants—

the Attorney General and FBI Director in their official capacities, the Department of Justice, and

the FBI—violated statutes and regulations in the course of his removal. But the Civil Service

Reform Act (CSRA) precludes Plaintiff from bringing such claims.           The CSRA creates a

comprehensive and, more importantly for these purposes, exclusive remedial scheme. This

comprehensive remedial scheme leaves no room for the hodge-podge of statutory and regulatory

claims brought by Plaintiff.




                                                3
            Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 13 of 48




        Plaintiff also raises constitutional claims for equitable relief under the Fifth Amendment’s

Due Process Clause and the First Amendment. The CSRA does not preclude these claims, but

they fail nonetheless. He makes two due process claims: 1) the Attorney General was a biased

decision maker; and 2) Plaintiff did not have adequate time to prepare a response to the notice of

proposed removal. Plaintiff waived his claim about the Attorney General’s alleged bias by not

raising it at the administrative level. And regardless, the claim lacks merit, as it rests on an

improper effort to impute alleged bias from the President to others, including the Attorney General.

His other due process claim fares no better: Plaintiff knew the bases of his removal for weeks, and

he and his legal team had ample time to respond to the notice of proposed removal, which ran no

more than 15 pages. Finally, there is Plaintiff’s First Amendment claim, which is essentially that

he was fired for being perceived as a Democrat. Butas stated above and explained below, the

Attorney General decided to remove Plaintiff due to his lack of candor, irrespective of Plaintiff’s

perceived political affiliation.

        Accordingly, the Court should dismiss certain of Plaintiff’s claims under Federal Rules of

Civil Procedure 12(b)(1) and 12(b)(6), and enter summary judgment in favor of Defendants as to

the rest.

                                        BACKGROUND
        In 2016, someone at the FBI confirmed the existence of an ongoing criminal investigation

to a reporter, in contravention of standard FBI practice. OIG Rpt. at 1. The question was who.

The FBI tried to find out, including by interviewing the Bureau’s then-Deputy Director—now the

Plaintiff—Mr. McCabe. See id. at 1. Eventually, agents in the FBI’s Inspection Division came to

suspect that Mr. McCabe had authorized the revelation to the reporter and had not been

forthcoming about having done so. Id. Because of his high position in the organization, though,

moving the investigation out of the FBI made sense. Thus, the Department of Justice’s Office of

                                                 4
            Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 14 of 48




Inspector General (OIG, IG, or Inspector General), which was created by statute as an

“independent and objective unit[]” for conducting “investigations,” 5 U.S.C. APP. 3 § 2, took over.

It conducted an investigation, which included conducting multiple interviews of Plaintiff. Id. at 2.

In February 2018, the Inspector General issued a report entitled, “A Report of Investigation of

Certain Allegations Relating to Former FBI Deputy Director Andrew McCabe,” Feb. 2018,

https://oig.justice.gov/reports/2018/o20180413.pdf.

        The Inspector General concluded that Plaintiff had in fact authorized the relevant

disclosure and had lacked candor relating to that conduct on four occasions, in violation of FBI

rules. OIG Rpt. at 2. To start, the IG determined that Plaintiff lacked candor when speaking with

then-FBI Director James Comey about who had authorized the disclosure to the reporter. Id.

Moreover, the IG concluded that Plaintiff had lacked candor on three occasions while under oath—

once while being questioned by agents from the FBI’s Inspection Division and twice while being

questioned by the OIG. Id. The IG also concluded that Plaintiff’s decision to confirm the on-

going investigation violated FBI rules. Id. Before finalizing its report, the OIG shared a draft with

Plaintiff and his counsel, Mar. 15, 2018 Tr. of Hearing in the Matter of Andrew McCabe (“Oral

Resp. Tr.”), at 165:6–8 (attached as Ex. 3), and Plaintiff submitted a response. The OIG considered

the arguments offered by Plaintiff in his response. See, e.g., OIG Rpt. at 23 n.8, 25 n.10, & 26

n.11. Ultimately, OIG “issu[ed] [the] report to the FBI for such action as it deem[ed] appropriate,”

id. at 2.

        The ball was then in the FBI’s court. The career head of the FBI Office of Professional

Responsibility (OPR) at the time, Assistant Director Candice Will,2 took the lead under standard




2
  See https://archives.fbi.gov/archives/news/pressrel/press-releases/fbi-director-names-candice-
m.-will-as-assistant-director-for-office-of-professional-responsibility (Aug. 11, 2014).
                                                 5
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 15 of 48




Bureau practice. After her independent review of the OIG’s report and the underlying evidence,

she determined that it was not clear whether Plaintiff was under oath when he spoke with the

Inspection Division Agents, but otherwise agreed with the IG’s findings that Plaintiff had lacked

candor and had improperly disclosed the existence of an FBI Investigation. FBI Rec. at 1. After

concluding that Plaintiff had engaged in misconduct, she turned to the consideration of an

appropriate penalty, taking into account factors such as consistency with FBI precedent, the FBI’s

guidelines for punishment, and aggravating and mitigating circumstances. Id. at 14–15. In light

of these considerations, including that dismissal is the standard penalty for lacking candor under

oath and that Plaintiff was the Deputy Director at the time, Assistant Director Will recommended

that Plaintiff be “dismissed from the rolls of the FBI.” Id. at 17. She reasoned, in part, as follows:

“I find that dismissal is appropriate because all FBI employees know that lacking candor under

oath results in dismissal and that our integrity is our brand. Without it, we are nothing. As the

Deputy Director, you held the second-highest position in the FBI and are expected to comport

yourself with the utmost integrity. Despite this, you repeatedly lacked candor with the Director of

the FBI, the OIG, and the FBI’s Inspection Division.” Id. at 15.

       While the head of OPR can issue final decisions with regard to lower-ranking FBI

employees, as to the Deputy Director, she could issue only a recommendation. Under DOJ Order

1202, which was signed by former Attorney General Eric Holder, the Deputy Director of the FBI

can be removed only by the Attorney General. DOJ Order 1202, at 14 (Nov. 26, 2013) (attached

to Ex. 4, Letter from Schools to McCabe) (specifying that individuals in “[k]ey SES [p]ositions”

can be removed only by the Attorney General, and defining key positions to include “[a]ll career

SES officials who are deputy Component Heads in Components with a single deputy position”);

see   FIB,     About     FBI,    Leadership     &     Structure,   Director    Christopher     Wray,



                                                  6
         Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 16 of 48




https://www.fbi.gov/about/leadership-and-structure (listing a single Deputy Director position for

FBI).

         Accordingly, Assistant Director Will forwarded her 15-page recommendation (along with

the largely redundant 17-page report of investigation) to the Office of the Deputy Attorney

General. ADAG Scott Schools, then the highest-ranking career official in the Department of

Justice (he has since left the Department), served as the point person. See Statement, Department

of Justice, Office of Public Affairs, Attorney General Jeff Sessions Announces Bradley

Weinsheimer to Replace Departing Associate Deputy Attorney General Scott Schools (July 3,

2018),          https://www.justice.gov/opa/pr/attorney-general-jeff-sessions-announces-bradley-

weinsheimer-replace-departing-associate. ADAG Schools sent Plaintiff a letter informing him of

the procedures that the Department would follow in reviewing this matter and of his rights to

“review the material relied upon to support the proposal,” “to reply to this notice orally, in writing,

or both,” “to submit any affidavits or other documentary evidence [he] wish[ed] in support of [his]

reply,” and to have his “attorneys assist [him] in preparing and presenting [the] reply.” Letter from

Schools to McCabe (“Schools Letter) at 1 (Mar. 8, 2018) (attached as Ex. 4).3 Attached to the

letter was DOJ Order 1202, which, as explained above, specified that the Deputy Director of the

FBI can be removed only by the Attorney General. DOJ Order 1202, at 14. The letter also stated

that any decision to remove Mr. McCabe would be effective no earlier than March 16, 2018.

Schools Letter at 1.

         Consistent with FBI policy governing the removal of SES employees, the Department of

Justice furnished Mr. McCabe with a week to respond to the notice of proposed removal. Under




3
 The letter from ADAG Schools stated that Plaintiff’s written response was due March 15, 2018,
but that deadline was extended until noon on March 16, 2018. Compl. ¶ 122.
                                                  7
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 17 of 48




FBI policy, if a proposed removal is based on misconduct, then the employee is presumptively

afforded 30 days to respond to the proposal. FBI SES Policy at 16. But there is an exception to

this rule. “[I]f there is reasonable cause to believe the employee has committed a crime for which

a sentence of imprisonment can be imposed, the advance notice may be curtailed to as little as

seven days.” Id. The Inspector General’s finding that Mr. McCabe had lacked candor under oath

provided “reasonable cause to believe the employee has committed a crime for which a sentence

of imprisonment can be imposed.”

       Plaintiff availed himself of the opportunity to provide both an oral and written reply. On

March 15, 2018, Plaintiff and two of his attorneys provided his oral reply to ADAG Schools and

another career Department of Justice attorney from the Justice Management Division, the

administrative arm of the Department. See generally Oral Resp. Tr. The hearing lasted more than

four hours. See id. at 1, 201. During the hearing, Plaintiff answered questions from his lawyers

and from ADAG Schools, and his lawyers presented arguments. See generally id. At the end of

the hearing, ADAG Schools reminded Plaintiff’s counsel that the Attorney General would make

the decision of whether or not to remove Plaintiff. Id. at 198–200. The next day, Plaintiff, through

his legal team, submitted an 11-page, single-spaced letter responding to the notice of proposed

removal. Letter from Bromwich to Schools (“Resp. Letter”) (March 16, 2018) (attached as Ex. 5).

In neither response, oral or written, did Plaintiff raise any concerns about the propriety of the

Attorney General’s involvement in the decision making process.

       After “hav[ing] reviewed the entire record and carefully considered Mr. McCabe’s oral and

written responses,” ADAG Schools recommended that the Attorney General “sustain the charge[s]

that Mr. McCabe lacked candor under oath in the July 28, 2017 OIG interview,” lacked candor

under oath in the November 29, 2017 OIG interview, lacked candor during the May 9, 2017



                                                 8
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 18 of 48




interview with the Inspection Division Agents, and authorized the disclosure of an on-going FBI

investigation in contravention of FBI policy. Memo. from ADAG Schools to the Attorney General

(“ADAG Rec.”), at 1–6 (Mar. 16, 2018) (attached as Ex. 6). ADAG Schools did not endorse all

of the FBI’s recommendations, however, as he concluded that the evidence did not support the

conclusion that Plaintiff lacked candor in a meeting with the FBI Director because “[a]lthough the

preponderant evidence supports a finding that Mr. McCabe did not tell Mr. Comey that he

authorized the disclosure, the testimony is insufficient to support a finding that Mr. McCabe denied

being the source.” Id. at 5.

       Having made these recommended findings, ADAG Schools recommended, as Assistant

Director Will had, that Plaintiff be “dismissed from the rolls of the FBI.” Id. at 6. He based his

recommendation primarily on the fact that the “standard penalty for lack of candor under oath is

dismissal” and that “[t]he substantiated findings of lack of candor under oath are compounded by

the finding of lack of candor not under oath, and the unauthorized disclosure finding.” Id. ADAG

Schools recognized that “McCabe ha[d] had a distinguished career in the FBI” but noted, “as Ms.

Will [had] observed, [that] he was the second highest-ranking official in the FBI, and he [wa]s

expected to handle himself with utmost integrity.” Id.

       The Attorney General adopted the recommendation of ADAG Schools (and by extension

that of Assistant Director Will) that Mr. McCabe be removed. He wrote: “For the reasons stated

in the foregoing recommendation, I have decided that Andrew G. McCabe should be removed

from the Federal Bureau of Investigation and from the civil service.” Id.

       In August 2019, Plaintiff filed his complaint. It includes five counts, but over a dozen

claims. Compl. ¶¶ 148–93. It names as defendants the Attorney General and the Director of the

FBI, in their official capacities, as well as the Department of the Justice and the FBI. Id. ¶¶ 18–



                                                 9
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 19 of 48




21. According to Plaintiff, these Defendants violated various statutes and regulations, the Due

Process Clause of the Constitution, and the First Amendment in the course of removing him from

the FBI and the Civil Service. Id. ¶¶ 148–93.

                                          ARGUMENT

       Plaintiff’s complaint raises (i) statutory and regulatory claims; (ii) due process claims; and

(iii) First Amendment claims. None of them withstands scrutiny. The statutory and regulatory

claims are precluded by the CSRA: It creates an exclusive remedial scheme for the sort of non-

constitutional employment-related grievances made by Plaintiff, but (with exceptions inapplicable

here) it precludes FBI employees from obtaining relief. The due process claims fare no better, as

they run aground on the lack of a protected property interest, waiver, and Plaintiff’s failure to

articulate an actionable claim. Finally, Plaintiff’s First Amendment claims, which are premised

on the assertion that Mr. McCabe was fired for his perceived political affiliation, come up short:

The Attorney General adopted the recommendations of two high-ranking Department of Justice

officials that Mr. McCabe be removed due to his lack of candor under oath.

I.     The CSRA Precludes McCabe’s Statutory and Regulatory Claims

       The first two counts of the Complaint contain an assortment of claims, among them claims

that Defendants violated various statutes and regulations in the course of removing Plaintiff from

the FBI and the Civil Service. See Compl. ¶¶ 148–69. For example, Plaintiff alleges that his

removal was ineffective because it occurred after 5:00 p.m. on a Friday, id. ¶ 151; was based on a

decision that used the incorrect verb tense, id. ¶ 152; and was made by the Attorney General, rather

than a lower-ranking Department of Justice official, id. ¶ 153. These claims lack merit, as do the

rest of the statutory and regulatory claims. But the Court need not reach their merits because the

CSRA precludes judicial review of such claims. See United States v. Fausto, 484 U.S. 439, 447

(1988); Graham v. Ashcroft, 358 F.3d 931, 935–36 (D.C. Cir. 2004).
                                                10
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 20 of 48




       In enacting the CSRA in 1978, Congress comprehensively reformed the relationship

between the federal government and its employees. It “replace[d] the haphazard arrangements for

administrative and judicial review of personnel action[s]” that were “part of the ‘outdated

patchwork of statutes and rules built up over almost a century.’” Fausto, 484 U.S. at 444 (quoting

S. Rep. No. 95-969, at 3 (1978)). Before the CSRA, there were multiple sources of authority

(statutes, executive orders, and regulations) governing employment matters, with various courts

around the country giving their own gloss to each. See id. at 444–45. Unsurprisingly, there was

“dissatisfaction with the wide variations in the kinds of decisions issued on the same or similar

matters.” Id. at 445 (cleaned up) (citation omitted). The CSRA brought order to this chaos. It

established an “integrated scheme of administrative and judicial review, designed to balance the

legitimate interests of the various categories of federal employees with the needs of sound and

efficient administration.” Id.

       As part of this integrated scheme, the CSRA channels judicial review of most covered

claims through the Merit Systems Protection Board, and from there on to the U.S. Court of Appeals

for the Federal Circuit. 5 U.S.C. § 7703. It also establishes, among other things, a reticulated

remedial structure for claims involving: (i) personnel actions based on unacceptable performance,

5 U.S.C. § 4301 et seq. (“Chapter 43”), (ii) certain personnel actions taken in alleged violation of

the merit system principles, 5 U.S.C. § 2301 et seq. (“Chapter 23”), and (iii) certain defined major

personnel actions based on misconduct, 5 U.S.C. § 7501 et seq. (“Chapter 75”). See Fausto, 484

U.S. at 445–47. For example, Chapter 75 establishes that an “employee” (as that term is defined

at 5 U.S.C. § 7511) may be removed “only for such cause as will promote the efficiency of the

service,” 5 U.S.C. § 7513(a), and that an employee is entitled to certain procedural protections in

the event that his or her employing agency proposes removal, id. § 7513(b)–(d).



                                                11
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 21 of 48




       Crucially, the CSRA is not only comprehensive, but exclusive. In other words, with regard

to remedies for non-constitutional employment-related claims, with a few inapplicable exceptions,

“what you get under the CSRA is what you get.” Fornaro v. James, 416 F.3d 63, 67 (D.C. Cir.

2005) (Roberts, J.). The scheme’s exclusivity helps to ensure the uniformity that motivated the

enactment of the CSRA. See Grosdidier v. Chairman, Broad. Bd. of Governors, 560 F.3d 495,

497 (D.C. Cir. 2009). Moreover, the CSRA excludes certain categories of employees from the

remedies that would otherwise be available to them under Chapters 23, 43, and 75. The category

of employees carved out of all or part of the CSRA includes those employed by the FBI. Most

relevant for purposes of this case, Chapter 75 of the CSRA—regarding challenges to misconduct-

based personnel actions—does not apply to FBI personnel: “This subchapter does not apply to an

employee . . . whose position is within the . . . the Federal Bureau of Investigation . . . unless

subsection (a)(1)(B) of this section or section 1005(a) of title 39 is the basis for this subchapter’s

applicability.”4 5 U.S.C. § 7511(b)(8).

       Plaintiff was dismissed from the FBI for conduct-based reasons. So, given the general

inapplicability of Chapter 75 of the CSRA to FBI personnel, he has no avenue to challenge his

removal under that statutory scheme. And, because the CSRA is not only comprehensive, but

exclusive, Plaintiff has no other avenue for raising his statutory and regulatory claims: “[T]he

exclusion of particular employees . . . from the CSRA [i]s not an invitation to those employees to

sue under other statutes but a ‘manifestation of a considered congressional judgment that they



4
  So far as applicable to the FBI, the exception to the exception in Chapter 75 is for those FBI
employees who are “preference eligible”—certain military veterans or their family members. In
other words, for example, certain veterans who work for the FBI are covered by Chapter 75,
whereas the Bureau’s employees who don’t fall within this exception to the exception are not.
None of the allegations in the complaint indicate that Plaintiff possesses the qualifying military
experience necessary to fall within the band of covered FBI employees.


                                                 12
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 22 of 48




should not have statutory entitlement to review.’” Filebark v. U.S. Dep’t of Transp., 555 F.3d

1009, 1013 (D.C. Cir. 2009) (quoting Fausto, 484 U.S. at 448–49). Another court in this district

reached just this conclusion with respect to a challenge brought by another former FBI employee

removed for alleged misconduct. Lamb v. Holder, 82 F. Supp. 3d 416, 421 (D.D.C. 2015)

(explaining that a former FBI employee “is excluded from the CSRA provisions regarding

termination, and therefore his termination is not subject to judicial review”).5

       Indeed, the D.C. Circuit has previously ruled that the CSRA precludes the very kinds of

claims raised by Plaintiff here. Plaintiff’s claims that Defendants violated their own regulations

in taking an adverse personnel action are known as Vitarelli claims. See Vitarelli v. Seaton, 359

U.S. 535, 539–40 (1959). In Graham, 358 F.3d at 935, the D.C. Circuit held, in a suit brought by

an FBI agent, that the CSRA precluded review of Vitarelli claims: “[I]t is clear that judicial review

of Graham’s personnel claims under Vitarelli is precluded by the CSRA.” As for Plaintiff’s

statutory claims, while they do not identify a cause of action, the APA is the most likely candidate,

but the D.C. Circuit has “long held that federal employees may not use the Administrative

Procedure Act to challenge agency employment actions.” Filebark, 555 F.3d at 1010. In short,

nothing in the nature of Plaintiff’s specific claims takes them outside the ambit of the CSRA’s

preclusive effects.

       A 2009 D.C. Circuit decision well summarizes the state of the law and, by extension, the

reasons for dismissing Plaintiff’s statutory and regulatory claims based on the preclusive effects

of the CSRA:



5
 The CSRA does not preclude judicial review of claims under certain anti-discrimination statutes,
such as Title VII of the Civil Rights Act, see 5 U.S.C. § 2302, and the D.C. Circuit has never
“suggest[ed] that [it] precludes the exercise of federal jurisdiction over the constitutional claims
of federal employees and job applicants altogether,” Spagnola v. Mathis, 859 F.2d 223, 229–30
(D.C. Cir. 1988).
                                                 13
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 23 of 48




               As our Court has emphasized, the CSRA is comprehensive and
               exclusive. . . . We have emphasized, moreover, that the CSRA is the
               exclusive avenue for suit even if the plaintiff cannot prevail in a
               claim under the CSRA. As we have explained, Congress designed
               the CSRA’s remedial scheme with care, “intentionally providing—
               and intentionally not providing—particular forums and procedures
               for particular kinds of claims.” Filebark, 555 F.3d at 1010.
               Allowing employees to end-run the CSRA would undermine
               Congress’s efforts to foster a “unitary and consistent Executive
               Branch position on matters involving personnel action.” Fausto,
               484 U.S. at 449, 108 S.Ct. 668; see also Graham, 358 F.3d at 934.
               Therefore, we have told federal employees, “what you get under the
               CSRA is what you get.” Fornaro, 416 F.3d at 67.

Grosdidier, 560 F.3d at 497. Accordingly, the Court should dismiss Plaintiff’s statutory and

regulatory claims, which are found in Counts I and II of the Complaint, for lack of subject matter

jurisdiction under Federal Rule of Civil Procedure 12(b)(1). See, e.g., Gardner v. United States,

No. CIV A. 96-1467, 1999 WL 164412, at *7 (D.D.C. Jan. 29, 1999), aff’d, 213 F.3d 735 (D.C.

Cir. 2000) (dismissing claims under Rule 12(b)(1) on the basis of CSRA preclusion).

II.    Plaintiff’s Constitutional Due Process Claims Lack Merit

       Plaintiff received notice of the bases of his proposed removal and both provided a written

response and participated in an oral hearing before the Department of Justice’s then top career

official, ADAG Scott Schools. See generally Twist v. Meese, 854 F.2d 1421, 1428 (D.C. Cir.

1988) (“[G]iven the fact that Twist received advance notice, an on-the-record hearing, and an

opportunity to submit a written answer to the charges against him, even if Twist had a property

right to his continued employment, which we have held he does not, he has received all the process

to which he would be due.”). All the while, Plaintiff was assisted by lawyers from two well-

regarded law firms. But the outcome of this process obviously was not what Mr. McCabe sought,

as former Attorney General Sessions adopted ADAG Schools’ recommendation that Plaintiff be

removed from the FBI and the Civil Service. (ADAG Schools’ recommendation tracked that of


                                               14
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 24 of 48




the career head of the FBI’s Office of Professional Responsibility, Assistant FBI Director Candice

Will.) He thus contends that he was denied due process.

       Plaintiff raises two constitutional due process claims. First, Plaintiff alleges that former

Attorney General Sessions was biased. Second, he contends that he lacked adequate time to

prepare a response to the notice of proposed removal.6 Plaintiff contends that these alleged due

process violations “depriv[ed] him of his property interest in his employment and full vested

pension and related benefits,” Compl. ¶ 158, and “deprived [him] of his constitutionally protected

liberty interest in his reputation,” id. ¶ 166. These claims should be dismissed or, in the alternative,

the Court should enter summary judgment in favor of Defendants.

       A. Plaintiff Has No Property Interest in His Former Job or Its Benefits

       “The first inquiry in every due process challenge is whether the plaintiff has been deprived

of a protected interest in ‘property’ or ‘liberty.’ Only after finding the deprivation of a protected

interest do [courts] look to see if the [government’s] procedures comport with due process.” Am.

Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 59 (1999) (citation omitted). Plaintiff has not been

deprived of a protected property interest. An employee has a property interest in a government

job only if, under the law, “he did not serve in his job at his employer’s ‘will,’ but he could be

removed only ‘for cause.’” Thompson v. Dist. of Columbia, 530 F.3d 914, 918 (D.C. Cir. 2008)

(citation omitted). But Plaintiff did not enjoy for-cause removal protections: Chapter 75 of the

CSRA provides for-cause removal protections for many if not most federal employees, 5 U.S.C.

§§ 7511, 7513, but, with a few exceptions inapplicable to Plaintiff, it excludes FBI employees, 5


6
  Plaintiff’s complaint may also suggest that the alleged violations of an agency’s regulations
constitute a per se due process violation. See Compl. ¶ 158. This argument is meritless. E.g.,
Crosby-Bey v. Dist. of Columbia, 786 F.2d 1182, 1186 (D.C. Cir. 1986). Similarly meritless is the
suggestion, see Compl. ¶158, that any alleged statutory violations constitute a per se due process
violation. See Duffy v. Selsky, No. 95-cv-0474, 1996 WL 407225, at *8 (S.D.N.Y. July 18, 1996).
                                                  15
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 25 of 48




U.S.C. § 7511(b)(8). Indeed, numerous courts—including one in this district—have held that FBI

personnel lack a protected property interest in their jobs. See, e.g., Lamb, 82 F. Supp. 3d at 424–

25; Mack v. United States, 814 F.2d 120, 123 (2d Cir.1987); Painter v. FBI, 694 F.2d 255, 257

(11th Cir. 1982). Thus, as a non-preference-eligible FBI employee, Plaintiff was excluded from

the CSRA’s for-cause protections and, by extension, any viable argument that he has a property

interest in his former job. Absent a protected property interest in his job, Plaintiff cannot seek

reinstatement as a remedy for any alleged due process violations. See Doe v. U.S. Dep’t of Justice,

753 F.2d 1092, 1102 (D.C.Cir.1985); Dave v. D.C. Metro. Police Dep’t, 926 F. Supp. 2d 247, 249

n.1 (D.D.C. 2013).

       Plaintiff’s argument that he has a property interest in the employment benefits of his former

job fares no better. By statute, a federal law enforcement officer is “entitled to a[] [retirement]

annuity” immediately “after becoming 50 years of age and completing 20 years of service as a law

enforcement officer,” unless “remov[ed] for cause on charges of misconduct or delinquency.” 5

U.S.C. § 8412(d)(2); see Compl. ¶ 36 (indicating that Plaintiff is basing his pension-entitlement

claim on § 8412(d)(2)). But Mr. McCabe did not satisfy the requirements for entitlement to this

law-enforcement officer annuity because he was not employed as a law enforcement officer “after

becoming 50 years of age and completing 20 years of service.” Thus, he has no protected property

interest in the annuity. D.C. Circuit precedent squarely supports this conclusion. In a similar

context, the D.C. Circuit held that “a retiree who meets [age, service, or disability] requirements

acquires an interest protected by the due process clause in benefits at the level provided by the law

in effect at the time he or she becomes eligible.” Am. Postal Workers Union, AFL-CIO v. U.S.

Postal Service, 707 F.2d 548, 554 (D.C. Cir. 1983) (emphasis added); see also id. (“Potential

retirees have no protected property interest in any particular level of retirement benefits.”



                                                 16
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 26 of 48




(emphasis omitted)). Accordingly, as Mr. McCabe did not meet the age and service requirement

for a law-enforcement officer annuity at the time he left federal service, he did not acquire a

protected property interest in it. See also Bloch v. Powell, 227 F. Supp. 2d 25, 38 (D.D.C. 2002),

aff’d, 348 F.3d 1060 (D.C. Cir. 2003) (“[P]laintiff was not qualified for annuity and therefore had

no cognizable property rights to such an annuity in the first place.”). Since Mr. McCabe has no

property interest in the annuity, it follows that he does not have a property interest in the continued

receipt of his medical benefits, either. 5 U.S.C. § 8905(b) (stating that “[a]n annuitant” who meets

certain requirements “may continue his enrollment” in a health benefits plan).

       Plaintiff is thus left with the assertion that he has a protected liberty interest in his reputation

that has been affected by Defendants’ actions. But statements about Plaintiff’s misconduct rest on

a solid foundation, as demonstrated by the IG’s report. See Aref v. Lynch, 833 F.3d 242, 258 n.11

(D.C. Cir. 2016) (“Most important here, the reputation-tarnishing statement must be false.”); see

generally OIG Rpt. And Defendant has not been sidelined by his removal: He has published a

book7; joined CNN as on on-air contributor; and secured the services of a speaker’s bureau that

also represents, among others, former Speaker of the House Paul Ryan, Pulitzer-Prize winning

reporter Bob Woodward, and former Senate Majority leader George Mitchell, see

https://www.leadingauthorities.com/speakers. That said, the Court need not determine whether

Plaintiff’s liberty-interest allegations are persuasive because his claims otherwise fail.

       B. Plaintiff Has Waived His Bias Allegations

       Plaintiff waived the allegation that former Attorney General Sessions was biased by not

raising it at the administrative level. D.C. Circuit precedent is clear: “[C]laims of bias must be


7
 Andrew G. McCabe, The Threat: How the FBI Protects America in the Age of Terror and
Trump (2019), https://www.amazon.com/Threat-Protects-America-Terror-Trump-
ebook/dp/B07HFMYQPG.
                                                   17
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 27 of 48




raised as soon as practicable after a party has reasonable cause to believe that grounds for

disqualification exist.” Vill. of Bensenville v. Fed. Aviation Admin., 457 F.3d 52, 73 (D.C. Cir.

2006) (deeming waived claims of bias that were not raised before the agency); Pharaon v. Bd. of

Governors of Fed. Reserve Sys., 135 F.3d 148, 155 (D.C. Cir. 1998) (same); Marcus v. Dir., Office

of Workers’ Comp. Programs, U. S. Dep’t of Labor, 548 F.2d 1044, 1051 (D.C. Cir. 1976) (same).

There is a straightforward reason why “[i]t will not do for a claimant to suppress his misgivings

while waiting anxiously to see whether the decision goes in his favor”: “A contrary rule would

only countenance and encourage unacceptable inefficiency in the administrative process.”

Marcus, 548 F.2d at 1051; Cayuga Nation v. Bernhardt, 374 F. Supp. 3d 1, 20 (D.D.C. 2019)

(“This requirement prevents parties from sitting on potential claims of disqualification and raising

those claims only in the case of an unfavorable outcome.”). In short, a plaintiff must raise claims

of bias at the administrative level to enable the agency to cure any bias or otherwise address claims

of bias, rather than sitting on his hands and raising such claims only if he gets an unfavorable

decision from the agency.

       During the administrative proceedings prior to his dismissal, Plaintiff did not level any

allegations of bias against the former Attorney General. He was given notice of the Attorney

General’s role, at the latest, on March 8, 2018, when ADAG Schools furnished him with a copy

of DOJ Order 1202. See DOJ Order 1202, at 14. And Plaintiff’s counsel were reminded of the

Attorney General’s role at the oral hearing. See generally Oral Resp. Tr. at 198:20–200:19; see

also id. at 198:20–199:2 (“Mr. Schools: The process is that I do my thing and make . . . effectively

[what will] be a recommendation to the [A]ttorney [G]eneral. And he either endorses or changes

it.”). At the time of the administrative proceedings, Plaintiff (and his counsel) thus possessed the

information on which he now bases his bias allegations. See Compl. ¶ 164. Yet Plaintiff did not



                                                 18
           Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 28 of 48




raise any allegations of bias at the oral hearing or in his written response. See Oral Resp. Tr.; Resp.

Letter.8

           Thus, Plaintiff did not raise his claims of bias “as soon as practicable.” Vill. of Bensenville,

457 F.3d at 73. Instead, he brought them only after learning that the Agency’s decision, which

was based on the recommendations of two senior career officials, did not go in his favor. His bias

claims have thus been waived.9

           C. Plaintiff Has Not Stated a Plausible Claim of Bias

           In any case, Plaintiff has not pleaded a plausible claim that former Attorney General

Sessions harbored any bias against him. See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). The

heart of Plaintiff’s bias allegation against the former Attorney General is that “Defendants had


8
  The transcript of the oral hearing and the response letter from Plaintiff’s counsel to ADAG
Schools were incorporated into the complaint by reference. See Compl. ¶¶ 118, 123, 124; Slovinec
v. Georgetown Univ., 268 F. Supp. 3d 55, 59 (D.D.C. 2017), aff’d, No. 17-7122, 2018 WL 1052650
(D.C. Cir. Jan. 26, 2018); Strumsky v. Washington Post Co., 842 F.Supp.2d 215, 217–18 (D.D.C.
2012). Accordingly, the Court can rely on them under Rule 12(b)(6). Abhe & Svoboda, Inc. v.
Chao, 508 F.3d 1052, 1059 (D.C. Cir. 2007). The same is true of the Attorney General’s Decision
(including the recommendation by ADAG Schools), the FBI’s recommendation, and the FBI’s
SES policy. See Compl. ¶¶ 115, 126, 160-61. In the alternative, the Court can enter judgment in
Defendants’ favor under Rule 56.
9
  Plaintiff asserts that he was demoted from the position of Deputy Director in January 2018, see,
e.g., Compl.¶ 7, and, therefore, that the Attorney General should not have been the decision maker.
See Compl. ¶ 117. This assertion is incorrect. Plaintiff was not demoted from the Deputy Director
position prior to his removal. In his written response to the notice of proposed removal, Plaintiff’s
counsel referred to Mr. McCabe as the “FBI Deputy Director.” Resp. Letter at 1. Moreover,
Plaintiff’s counsel implicitly acknowledged that Plaintiff had not been demoted when he stated
during the hearing with ADAG Schools that, “if it’s a suspension for more than 30 days or a
termination[,] that goes to [the Attorney General].” Oral Resp. Tr. at 199:13–14. That would be
true only if—as was the case—Mr. McCabe was still the Deputy Director. See DOJ Order 1202
at 14. Finally, the FBI’s and ADAG Schools’ recommendations regarding Plaintiff’s removal refer
to him as the Deputy Director of the FBI. E.g., OPR, Report of Investigation at 1 (Mar. 6, 2018)
(attached as Ex. 1) (“McCabe . . . is an ES-0 Deputy Director.” (emphasis added)); ADAG Rec. at
1 (“Purpose: To provide a recommendation regarding the proposed removal of FBI Deputy
Director Andrew G. McCabe) (emphasis added). Since Plaintiff was the Deputy Director of the
FBI at the time of his removal, under DOJ Order 1202, the Attorney General was the appropriate
decision maker. DOJ Order 1202, at 14.
                                                     19
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 29 of 48




already determined Plaintiff’s fate, and the agency decision-maker served merely to rubber-stamp

Defendants’ (and Trump’s) desired outcome.” Compl. ¶ 164. But, under Iqbal, this is just the sort

of conclusory allegation that the Court need not—indeed, cannot—credit. 556 U.S. at 680–81

(concluding that allegations “that Ashcroft was the ‘principal architect’ of this invidious

policy . . . and that Mueller was ‘instrumental’ in adopting and executing it” are “conclusory and

not entitled to be assumed true” (citation omitted)). Crucially, Plaintiff does not allege that former

Attorney General Sessions made any statements, publicly or privately, indicating that he had an

unalterably closed mind with respect to the McCabe employment matter. See Throckmorton v.

Nat’l Transp. Safety Bd., 963 F.2d 441, 445 (D.C. Cir. 1992) (explaining that the test for bias under

the Due Process clause is whether the agency decision maker has “a fixed opinion—a closed mind

on the merits of the case so as to disqualify him for prejudice” (citation omitted)); Pharaon v. Bd.

of Governors of Fed. Reserve Sys., 135 F.3d 148, 155 (D.C. Cir. 1998) (same). Plaintiff does

allege that former Attorney General Sessions asked FBI Director Wray to remove him (i.e.,

Plaintiff) in August 2017. Compl. ¶ 99. Assuming that this request was made (as is appropriate

in a motion to dismiss under Rule 12(b)(6)), it does not plausibly suggest that former Attorney

General Sessions had a “closed mind” in March 2018. The former Attorney General’s alleged

request to Director Wray was made in August 2017, seven months prior to Mr. McCabe’s removal.

During those seven months, the Attorney General had the power to remove Plaintiff, see DOJ

Order 1202, at 14, but did not so. This demonstrates that, whatever concerns the Attorney General

allegedly had about Plaintiff’s continued employment with the FBI, he remained open-minded

about the matter. In any case, the alleged expression of an opinion about whether Plaintiff should

be removed in August 2017 for one reason fails to plausibly suggest that the Attorney General

lacked an open mind in March 2018 with respect to whether a different rationale justified



                                                 20
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 30 of 48




Plaintiff’s removal. Indeed, courts have held that, under the Due Process Clause, a judge is

permitted to decide a case even when he has previously expressed a view on the very policy

question raised in the case. See Ass’n of Nat. Advertisers, Inc. v. F.T.C., 627 F.2d 1151, 1171 n.51

(D.C. Cir. 1979) (“Even judges are free to decide cases involving policy questions on which they

previously have expressed a view.”). Similarly, Plaintiff does not make any allegations regarding

actions taken by the former Attorney General that indicate he was biased.

        Instead, Plaintiff’s claim that the former Attorney General was biased is premised

exclusively on two points: 1) the Attorney General dismissed Plaintiff; and 2) the President made

statements about Plaintiff indicating that his removal was (or would be) warranted. Plaintiff’s

dismissal does not itself indicate bias, however. The Inspector General concluded that Plaintiff

had lacked candor on four occasions, including three times while under oath. OIG Rpt. at 2. Based

on the Inspector General’s investigation and careful consideration of the Douglas factors and the

FBI’s offense code, the long-serving career official in charge of the FBI’s Office of Professional

Responsibility, Assistant Director Will, recommended that Plaintiff be removed from the FBI and

the Civil Service. And the highest-ranking career official at the Department of Justice did the

same.   Thus, Plaintiff’s dismissal was the rational culmination of a process based on the

conclusions and recommendations of the Inspector General and two high-ranking career

officials—not support for an allegation of bias.

        Nor do the President’s statements about Plaintiff support plausible allegations of bias

against the former Attorney General. Imputing any perceived bias of the President to the former

Attorney General is inconsistent with the “presumption of honesty and integrity” that is enjoyed

by those “serving as adjudicators.” Withrow v. Larkin, 421 U.S. 35, 47 (1975). And there is no

indication of any facts that might overcome that presumption. Simple conjecture by Plaintiff



                                                   21
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 31 of 48




certainly cannot do so. See, e.g., Holmes v. Poskanzer, 342 F. App’x 651, 653 (2d Cir. 2009)

(“Here, the Plaintiffs have not alleged any facts to support actual bias, conflict of interest, or prior

involvement by any of the Defendants who participated in the disciplinary hearing process, and

thus, their bald assertion that Appellees Paul Zuckerman and Jonathan Raskin were not impartial

is insufficient to state a claim.”). Moreover, crediting Plaintiff’s theory, which seems to be that all

political officials in the Department should be presumed to be biased because of the President’s

statements, would lead to an absurd result—namely, all politically appointed officials would be

cut out of the process of deciding whether to remove a high government official, the Deputy

Director of the FBI. But in our constitutional system, the removal of high government officials is

entrusted to executive “Officers,” who are politically appointed officials like the Attorney General.

See U.S. CONST. art. II, § 2, cl. 2 (“Congress may by Law vest the Appointment of such inferior

Officers, as they think proper, in the President alone . . . or in the Heads of Departments.”); Free

Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 509, (2010) (“Under the

traditional default rule, removal is incident to the power of appointment.”). There is a good reason

for that. Such Officers are often most answerable to the people: “Our Constitution was adopted

to enable the people to govern themselves, through their elected leaders.” Free Enterprise Fund,

561 U.S. at 499 (holding unconstitutional a statute that interposed two levels of tenure protection

between the President and members of a government board). Plaintiff’s theory should be rejected

on that basis as well. And besides, the outcome would have been the same even if politically

appointed officials had been removed from the process, as Assistant Director Will and ADAG

Schools, both high-ranking career officials—the latter being the highest-ranking career official in

the Department of Justice—concluded that Mr. McCabe should be removed.




                                                  22
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 32 of 48




       In sum, Plaintiff’s claim of bias against former Attorney General Sessions “stops short of

the line between possibility and plausibility of entitlement to relief.” Iqbal, 556 U.S. at 678

(citation omitted). Dismissal, or the entry of summary judgment in favor of Defendants, is

warranted.

       D. Plaintiff Had Ample Time to Respond to the Notice of Proposed Removal

        Plaintiff alleges that he “did not receive a meaningful opportunity to evaluate and respond

to the allegations against him, in violation of . . . the Due Process Clause,” because he had less

than seven days to prepare a response to the notice of proposed removal. See, e.g., Compl. ¶ 162;

see Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 546 (1985) (“The essential requirements

of due process . . . are notice and an opportunity to respond.”). Not so: Plaintiff, aided by multiple

lawyers, had ample time to respond to the 15-page notice of proposed removal, which centered on

conclusions that he had first seen weeks earlier, when he reviewed a draft of the Inspector

General’s Report.

         “[D]ue process is flexible and calls for such procedural protections as the particular

situation demands.” See Morrissey v. Brewer, 408 U.S. 471, 481 (1972). Plaintiff received all of

the process that the situation demanded. As an initial matter, Plaintiff learned of the conclusions

underlying the notice of proposed removal weeks before the notice was delivered to him. The

bases for Plaintiffs proposed removal—his lack of candor in interviews on October 31, 2016, May

9, 2017, July 28, 2017, and November 29, 2017—were discussed at length in the Inspector

General’s Report. Compare OIG Rpt. at 27–32, with FBI Rec. at 12–14; see also ADAG Rec. at

1 (notice of proposed removal was “consistent with the conclusions of the Inspector General”);

Compl. ¶ 115 (noting that the proposed removal decision relied on the OIG Report). A draft of

the Inspector General’s Report was first made available to Plaintiff on February 21, 2018, Oral.



                                                 23
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 33 of 48




Resp. Tr. at 165:6–8. Thus, Plaintiff was aware of the conclusions that undergirded the removal

decision 22 days before his March 15 oral response to the notice of proposed removal, and 23 days

before he submitted his written response to the notice of proposed removal on March 16. See Oral

Resp. Tr. at 1; Resp. Letter at 1. Courts consider notice of related proceedings in evaluating

whether, as a matter of law, a plaintiff was afforded adequate response time. See, e.g., Louisiana

Ass’n of Indep. Producers & Royalty Owners v. F.E.R.C., 958 F.2d 1101, 1114 (D.C. Cir. 1992)

(evaluating process provided in light of earlier proceedings regarding the same issue); Johnson v.

George, No. 05-cv-157-MPT, 2007 WL 1697276, at *8 (D. Del. June 12, 2007), aff’d, 299 F.

App’x 139 (3d Cir. 2008) (noting that “[t]wo and a half months prior to the hearing, Johnson

received the Santora Report which outlined the allegations of financial abuse which were the basis

for her dismissal”).

        Moreover, the notice of proposed removal spanned only 15 substantive pages. See

generally FBI Rec. Responding to a 15-page document in a week might be a burdensome task for

a team of experienced attorneys, but that task is not constitutionally problematic, especially when

the facts and conclusions have been known to the respondent for weeks. Indeed, another court in

this District found that a plaintiff who had less than two weeks to respond to a 159-page document

had been afforded an adequate opportunity to respond under the Due Process Clause:

               After being served with the Special Committee’s 159–page final
               Report on December 4, Judge McBryde enjoyed less than two weeks
               to prepare his response thereto in time for the Judicial Council to
               consider it in advance of the meeting. . . . Nonetheless, . . . Judge
               McBryde managed to prepare several extensive responses. The
               Court cannot say that this interval, abbreviated as it may have
               seemed to Judge McBryde, deprived Judge McBryde of notice so as
               to violate his due process rights.

McBryde v. Comm. to Review Circuit Council Conduct & Disability Orders of the Judicial

Conference of the U.S., 83 F. Supp. 2d 135, 168 (D.D.C. 1999), aff’d in part, vacated in part, 264

                                                24
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 34 of 48




F.3d 52 (D.C. Cir. 2001). Just as in McBryde, Plaintiff here prepared “extensive responses.”

Specifically, Plaintiff provided testimony and (through his lawyers) argument in an oral hearing

that lasted about 4 hours. See Oral Resp. Tr. at 1, 202. And he supplemented his oral hearing

testimony and argument with an 11-page, single-spaced written response to the notice of proposed

removal.

       As a corollary to his allegation that seven (days) is not enough, Plaintiff alleges that it was

improper for the Department to consider his looming retirement date when establishing the

timeframe for resolving his notice of proposed removal. See, e.g., Compl. ¶ 116. But why is that?

No statute, regulation, or policy requires the FBI or Department of Justice to allow employees

suspected of serious wrongdoing to retire before the FBI or the Department can evaluate their

conduct. Nor does the Constitution: Due Process is flexible, meaning it accounts for the

circumstances at hand, see Morrissey, 408 U.S. at 481, and one of the relevant circumstances in

this case was Mr. McCabe’s imminent retirement date. Ignoring an impending retirement date in

situations like this one would hamper the ability of the FBI and the Department of Justice to punish

serious misconduct by its most senior employees, thereby incentivizing bad behavior by employees

nearing the end of their careers. Whatever else due process requires, it does not require that.

       And lest he claim otherwise, Mr. McCabe could not have been surprised by the fact that

the Department gave him seven days to respond to the notice of proposed removal. As noted

earlier, FBI policy states that “if there is reasonable cause to believe the employee has committed

a crime for which a sentence of imprisonment can be imposed, the advance notice may be curtailed

to as little as seven days.” FBI SES Policy at 16. As a long-time SES employee, Compl. ¶ 27, and

the Deputy Director of the FBI, Mr. McCabe was undoubtedly aware of this fact (or should have

been), and he certainly recognized (or should have), that the Inspector General’s conclusions



                                                 25
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 35 of 48




would trigger this provision. Also, as already noted, Mr. McCabe had a head start, having been

aware of the OIG’s conclusions for weeks by the time the seven-day clock started ticking.

       In short, Plaintiff received due process. He knew of the conclusions on which his removal

notice was based for weeks. The notice of proposed removal ran only 15 pages. Plaintiff, aided

by multiple attorneys, put on hours of testimony and submitted a lengthy written response to the

notice. He was heard. And just as in McBryde, the “interval, abbreviated as it may have seemed

to [Plaintiff]” did not deprive him of his due process rights. 83 F. Supp. 2d at 168.

III.    Plaintiff’s Removal Did Not Violate the First Amendment

       Finally, Plaintiff alleges that he was removed on an accelerated schedule based on the

perception that he was a partisan opponent of the President’s, in violation of his First Amendment

right to free association and political expression. Compl. ¶¶ 171, 174, 182. Specifically, Plaintiff

alleges that he was unlawfully removed because of: “(a) his refusal to pledge personal loyalty to

[the President], (b) his decision not to vote for [the President] in the 2016 U.S. presidential

election . . . (c) his wearing of a T-shirt in 2015 . . . in support of Dr. McCabe’s Virginia state

senate campaign, and (d) his marriage to Dr. McCabe and the improper attribution of her political

activity to him.” Compl. ¶ 182.

       Generally speaking, the First Amendment protects government employees from adverse

employment action on the basis of political belief or association. Elrod v. Burns, 427 U.S. 347,

360 (1976). To prevail on his First Amendment claim,10 Plaintiff must prove that political


10
  Plaintiff purports to bring two First Amendment claims—one based on political expression and
one based on political association, Compl. ¶¶ 170–87—but in fact his allegations are properly
categorized only as political-association claims. See, e.g., Thompson v. Shock, 852 F.3d 786, 792–
93 (8th Cir. 2017) (applying the political-affiliation, rather than political expression, line of cases
to an employee who was removed after he campaigned for an opposing candidate “by attending
fundraisers, placing campaign signs in his yard, and wearing a campaign T-shirt”). Regardless,


                                                  26
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 36 of 48




association “was a ‘substantial’ or ‘motivating’ factor” behind his removal. Clark v. Library of

Cong., 750 F.2d 89, 101–02 (D.C. Cir. 1984) (quoting Mt. Healthy City Sch. Dist. Bd. of Educ. v.

Doyle, 429 U.S. 274, 287 (1977)). If he does so, then the burden shifts to the government to show,

by a preponderance of the evidence, “that it would have reached the same decision” irrespective

of Plaintiff’s political affiliation. Mt. Healthy, 429 U.S. at 287; Wilburn v. Robinson, 480 F.3d

1140, 1149 (D.C. Cir. 2007); Williams v. Johnson, 701 F. Supp. 2d 1, 18 (D.D.C. 2010) (stating

that a defendant may prevail on summary judgment if it can demonstrate that that it “would have

taken the same action even in the absence of any protected activity”). Plaintiff must then be able

to refute that showing by proving that the government’s justifications for his removal were

pretextual. Wilburn, 480 F.3d at 1140.

        That, Plaintiff cannot do. The documents charting the course of the Attorney General’s

removal decision establish that the but-for cause behind Plaintiff’s removal was his lack of

candor.11 In other words, the government would have reached the same decision regardless of

what any official believed about Plaintiff’s political affiliation.

        Recall that the Inspector General and two high-ranking Department of Justice career

officials determined that Plaintiff lacked candor on three separate occasions. The OIG’s February

2018 Report lays out in meticulous detail the factual predicate for the lack-of-candor findings,

which stemmed from Plaintiff’s statements to the OIG and the FBI’s Inspection Division over the

course of several months. See generally OIG Rpt. Assistant Director Will conducted a separate



because the Mt. Healthy test applies to either claim, see Clark v. Library of Congress, 750 F.2d
89, 101 (D.C. Cir. 1984), whether this is a free speech or free association claim does not change
the result here: Plaintiff’s removal was based on lack-of-candor findings rather than any protected
activity.
11
   Again, even though Plaintiff alleges that Defendants unlawfully demoted Plaintiff as well,
Plaintiff was, in fact, not demoted. See supra, note 9.
                                                  27
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 37 of 48




review of the OIG’s findings, found that “the allegations [were] substantiated,” and thus

recommended—in keeping “with precedent” and the FBI’s “Penalty Guidelines”—that Plaintiff

be removed from the FBI. FBI Rec. at 1, 15. And after considering Plaintiff’s oral and written

response to Assistant Director Will’s recommendation, ADAG Schools recommended that the

Attorney General concur in the proposal to remove Plaintiff from his position because of his lack

of candor. ADAG Rec. at 6. In his recommendation, ADAG Schools emphasized that Plaintiff’s

lack of candor under oath was “compounded” by his lack of candor not under oath and his

revelation of an ongoing investigation. Id. Finally, “[f]or the reasons stated” by ADAG School’s

recommendation—that is, because of Mr. McCabe’s lack of candor and his revelation of an

ongoing investigation—the Attorney General ordered Mr. McCabe removed. Id. at 6. Neither the

recommendations nor the Attorney General’s order offer politically motivated reasons for

Plaintiff’s removal.   Plaintiff’s First Amendment claim therefore cannot survive summary

judgment. See De Llano v. Berglund, 282 F.3d 1031, 1037 (8th Cir. 2002) (“The dismissal notice

given to [the plaintiff] outlines a number of reasons for his termination and those reasons were

substantiated in two separate hearings. Not one of the reasons stated for his termination related to

[protected First Amendment activity].”).

       Indeed, given the independent lack-of-candor determinations, Plaintiff’s removal was quite

unremarkable. As Assistant Director Will explained in her letter recommending removal, “all FBI

employees know that lacking candor under oath results in dismissal.” FBI Rec. at 15; see also id.

at 14 (stating that dismissal is the standard penalty for lack of candor under oath). ADAG Schools

affirmed, too, that “the standard penalty for lack of candor under oath is dismissal.” ADAG Rec.

at 6. Plaintiff does not—and cannot—allege that removal is not the standard penalty. The Attorney

General’s removal decision was thus a routine application of standard FBI protocol.



                                                28
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 38 of 48




       Of course, that Plaintiff occupied the second-highest position at the FBI did not make the

FBI’s standard removal penalty any less applicable to him. Rather, in the Department’s view, it

made his lack of candor all the more egregious. To be sure, both Assistant Director Will and

ADAG Schools acknowledged Mr. McCabe’s “distinguished career in the FBI,” ADAG Rec. at 6,

and his “truly outstanding performance record,” FBI Rec. at 15. As Plaintiff himself asserts, it

was his distinguished service that elevated him to the position of Deputy Director, which is “the

FBI’s second-in-command and the highest attainable career role in the FBI for a civil servant such

as” himself. Compl. ¶ 29. But the importance of Plaintiff’s senior leadership role ultimately

weighed against him in the Department’s analysis of the proper sanction: As the “second highest-

ranking official in the FBI,” ADAG Schools explained, Mr. McCabe was “expected to handle

himself with utmost integrity.” ADAG Rec. at 6; FBI Rec. at 15. And as Assistant Director Will

put it, “integrity is our brand. Without it, we are nothing.” FBI Rec. at 15. The serious and

“substantiated” findings that Mr. McCabe lacked candor—both under oath and not under oath—

thus provided ample justification for his removal from the FBI and the Civil Service. Indeed,

given standard FBI protocol, removal was the natural, and expected, result of such findings.

Plaintiff now attempts to use the First Amendment as a shield against that unwanted consequence.

But because the Attorney General “would have reached the same decision” irrespective of

Plaintiff’s perceived political affiliation, Defendants are entitled to summary judgment on

Plaintiff’s First Amendment claim.12 Wilburn, 480 F.3d at 1149.

       In attempts to undermine the propriety of his removal, Plaintiff suggests that every

Department decision maker knew that the OIG investigation and the removal process were a sham,



12
  The timing of Plaintiff’s removal does not change the outcome here—if Plaintiff’s removal did
not run afoul of the First Amendment, then neither did the pace at which the removal decision was
made.
                                               29
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 39 of 48




driven only by political concerns. Compl. ¶¶ 178–79. But the facts do not bear out that position.

Plaintiff insinuates, for instance, that the OIG—an independent investigative agency—initiated its

investigation into Plaintiff because of political pressure from the President. Id. ¶¶ 97, 103, 178–

79. The OIG did not act at the President’s, or even its own, behest, however; the OIG opened its

investigation upon a referral from the FBI’s Inspection Division because of growing concerns over

Plaintiff’s forthrightness. OIG Rpt. at 1.   And the Inspection Division began its investigation in

May 2017 because they were concerned about “someone at the FBI leaking the Deputy Director’s

private conversations to the media.” OIG Rpt. at 15. Plaintiff also contends that he was

investigated and removed despite there being “no lawful basis” for doing so, Compl. ¶ 179, thereby

implying that the OIG’s findings were falsified. Yet the OIG’s detailed, nearly 35-page report lays

out all the verifiable evidence it considered to reach its conclusions. See generally OIG Rpt. And

two career officials in the Department of Justice—Assistant Director Will and ADAG Schools—

reviewed those same findings and found they were substantiated. See generally FBI Rec.; ADAG

Rec. ADAG Schools did so after the benefit of a four-hour oral hearing and Plaintiff’s written

response to the initial removal recommendation. See generally Oral Resp. Tr. And both officials

carefully considered, accepted, and rejected the OIG’s findings to the extent they found those

findings supported by the evidence. See FBI Rec. at 1 n.1; ADAG Rec. at 5. Plaintiff simply

cannot show that any Department officials worked in concert to manufacture an investigation and

initiate a removal proceeding as pretext to remove him for politically motivated reasons. Because

Plaintiff cannot rebut the evidence that he would have been removed regardless of his perceived

political affiliation, Defendants are entitled to summary judgment in their favor under Rule 56.

Wilburn, 480 F.3d at 1149.




                                                30
       Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 40 of 48




                                        CONCLUSION

       For the above stated reasons, the Court should dismiss certain claims in Plaintiff’s

complaint and enter judgment in favor of Defendants as to the rest.



Dated: November 1, 2019                             Respectfully submitted,

                                                    JOSEPH H. HUNT
                                                    Assistant Attorney General

                                                    CHRISTOPHER R. HALL
                                                    Assistant Branch Director

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                                               31
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 41 of 48




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                  )
 ANDREW G. MCCABE.,                               )
                                                  )
                Plaintiff,                        )
                                                  )     Case No. 1:19-CV-2399-RDM
        v.                                        )
                                                  )
 WILLIAM P. BARR, in his official capacity        )
 as Attorney General of the United States, et     )
 al.,                                             )
                                                  )
                Defendants.                       )
                                                  )
                                                  )


   STATEMENT OF MATERIAL FACTS AS TO WHICH THERE IS NO GENUINE
                             ISSUE

        As required by Local Civil Rule 7(h)(1), and in support for their Motion for Summary

Judgment, Defendants hereby submit the following statement of material facts as to which there

is no genuine issue.

   1. Andrew G. McCabe (“Plaintiff” or “Mr. McCabe”) became a Federal Bureau of

        Investigation (“FBI”) employee in 1996. Compl. ¶ 23.

   2.   Plaintiff became a member of the FBI Senior Executive Service (“SES”), see 5 U.S.C.

        § 3151, in 2009. Compl. ¶ 27.

   3. On February 1, 2016, Plaintiff became the FBI’s Deputy Director. Compl. ¶ 29.

   4. In May 2017, the FBI’s Inspection Division (“INSD”) began investigating whether

        information published in an October 30, 2016 Wall Street Journal article “was an

        unauthorized leak and, if so, who was the source of the leak.” U.S. Department of Justice,

        Office of Inspector General, “A Report of Investigation of Certain Allegations Relating to
    Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 42 of 48




   Former FBI Deputy Director Andrew McCabe” (“OIG Rpt.”), at 1, 14 (Feb. 2018),

   https://oig.justice.gov/reports/2018/o20180413.pdf.

5. Pursuant to that investigation, Inspection Division Agents interviewed Plaintiff. Id. at 2,

   15.

6. Inspection Division Agents became concerned that Plaintiff may have lacked candor when

   questioned about his role in the disclosure to the Wall Street Journal. Id. at 1, 21.

7. In August 2017, the Inspection Division referred the investigation to the Department of

   Justice’s Office of the Inspector General (“OIG”). Id. at 1, 21.

8. The OIG interviewed Plaintiff, under oath, on two separate occasions. OIG Rpt. at 2, 18,

   24.

9. In February 2018, the OIG issued a report entitled, “A Report of Investigation of Certain

   Allegations Relating to Former FBI Deputy Director Andrew McCabe,” Feb. 2018,

   https://oig.justice.gov/reports/2018/o20180413.pdf.

10. The   OIG      Report    was    released       publicly   on   April   13,   2018.     See

   https://oig.justice.gov/reports/all.htm.

11. The OIG Report concluded that Plaintiff had lacked candor on four occasions, in violation

   of FBI rules: once when speaking with then-FBI Director James Comey on October 31,

   2016; once while being questioned, under oath, by Inspection Division Agents on May 9,

   2017; and twice while being questioned, under oath, by OIG on July 28, 2017 and

   November 29, 2017. OIG Rpt. at 2, 22, 27, 29, 31, 35.

12. The OIG also concluded that Plaintiff authorized the disclosure of information to the Wall

   Street Journal in violation of the FBI’s and the Department of Justice’s media policy. Id.

   at 2, 32, 35.



                                               2
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 43 of 48




    13. Before finalizing its report, the OIG shared a draft with Plaintiff and his counsel. Oral

       Resp. Tr. at 165 ln. 6-8.

    14. Plaintiff, through counsel, submitted a written response to the OIG Report. See OIG Rpt.

       at 23 n.8.

    15. The OIG responded to arguments offered by Plaintiff in his response. See, e.g., id. at 23

       n.8, 25 n.10, and 26 n.11.

    16. The OIG “issu[ed] [its] report to the FBI for such action as it deem[ed] appropriate.” OIG

       Rpt. 2, 35.

    17. The then-career head of the FBI Office of Professional Responsibility, Assistant Director

       Candice Will, 1 reviewed the OIG Report on behalf of the FBI. Letter from Will to Andrew

       McCabe (“FBI Rec.”) at 15 (March 7, 2018) (attached as Ex. 1).

    18. Assistant Director Will determined that it was not clear whether Plaintiff was under oath

       when he spoke with the Inspection Division Agents, but otherwise agreed with the OIG’s

       findings that Plaintiff had lacked candor under oath and not under oath and had improperly

       disclosed the existence of an FBI Investigation. FBI Rec. at 1, 12-14.When considering an

       appropriate penalty for Plaintiff’s conduct, Assistant Director Will explained that she took

       several factors into account, including consistency with FBI precedent, the FBI’s

       guidelines for punishment, and aggravating and mitigating circumstances. Id. at 14-15.

    19. As Assistant Director Will noted, dismissal is the FBI’s standard penalty for lacking candor

       under oath. Id. at 14.




1
  See https://archives.fbi.gov/archives/news/pressrel/press-releases/fbi-director-names-candice-
m.-will-as-assistant-director-for-office-of-professional-responsibility.
                                                 3
    Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 44 of 48




20. Ultimately, Assistant Director Will recommended that Plaintiff be “dismissed from the

   rolls of the FBI.” Id. at 15.

21. In making her recommendation, Assistant Director Will stated, in part, as follows: “I find

   that dismissal is appropriate because all FBI employees know that lacking candor under

   oath results in dismissal and that our integrity is our brand. Without it, we are nothing. As

   the Deputy Director, you held the second-highest position in the FBI and are expected to

   comport yourself with the utmost integrity. Despite this, you repeatedly lacked candor

   with the Director of the FBI, the OIG, and the FBI's Inspection Division.” Id.

22. After her review, Assistant Director Will informed Plaintiff via letter, on March 7, 2018,

   of her conclusions and recommendation that he be removed from the FBI. Id. at 1.

23. The report of investigation accompanying the recommendation letter states that Andrew

   McCabe is an “ES-0 Deputy Director.” OPR, Report of Investigation at 1 (Mar. 6, 2018)

   (attached as Ex. 1).

24. DOJ Order 1202 was signed by then-Attorney General Eric Holder. DOJ Order 1202, at 1

   (Nov. 26, 2013) (attached to Exhibit 4, Letter from Schools to McCabe).

25. DOJ Order 1202 states that the Deputy Director of the FBI can be removed only by the

   Attorney General. Id. at 14 (specifying that individuals in “[k]ey SES [p]ositions” can be

   removed only by the Attorney General, and defining key positions to include “[a]ll career

   SES officials who are deputy Component Heads in Components with a single deputy

   position”); see About FBI, Leadership & Structure, Director Christopher Wray,

   https://www.fbi.gov/about/leadership-and-structure (listing a single Deputy Director

   position for FBI).




                                            4
        Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 45 of 48




    26. Assistant Director Will forwarded her 15-page recommendation (along with the 17-page

       report of investigation) to the Office of the Deputy Attorney General. Compl., Ex. A.

    27. Associate Deputy Attorney General (ADAG) Scott Schools was then the highest ranking

       career official in the Department of Justice. See Statement, Department of Justice, Office

       of Public Affairs, Attorney General Jeff Sessions Announces Bradley Weinsheimer to

       Replace Departing Associate Deputy Attorney General Scott Schools, July 3, 2018,

       https://www.justice.gov/opa/pr/attorney-general-jeff-sessions-announces-bradley-

       weinsheimer-replace-departing-associate.

    28. On March 8, 2018, after receiving Assistant Director Will’s recommendation, ADAG

       Schools sent Plaintiff a letter informing him of the procedures that the Department would

       follow in reviewing the matter and of the rights he possessed related to this review. Letter

       from Schools to McCabe (“Schools Letter”) (Mar. 8, 2018) (Attached as Ex. 4).

    29. Attached to ADAG Schools’ letter was a copy of DOJ Order 1202. DOJ Order 1202, at

       14.

    30. ADAG Schools’ letter also stated that any decision to remove Mr. McCabe would be

       effective no earlier than March 16, 2018. Schools Letter at 1.

    31. The Department of Justice furnished Mr. McCabe with a week to submit oral and written

       responses to the notice of proposed removal. 2 Id.

    32. On March 15, 2018, Plaintiff and two of his attorneys provided Plaintiff’s oral reply to

       ADAG Schools and another career Department of Justice attorney. Mar. 15, 2018 Tr. of

       Hearing in the Matter of Andrew McCabe (“Oral Resp. Tr.”) (attached as Ex. 3).




2
 The letter from ADAG Schools stated that Plaintiff’s written response was due March 15, 2018,
but that deadline was extended until noon on March 16, 2018. Compl. ¶ 122.
                                                5
    Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 46 of 48




33. The hearing lasted more than four hours. See id. at 1, 201.

34. During the hearing, Plaintiff answered questions from his lawyers and from ADAG

   Schools, and his lawyers presented argument. See generally Oral Resp. Tr.

35. At the end of the hearing, ADAG Schools told Plaintiffs’ counsel that the Attorney General

   would make the decision of whether or not to remove Plaintiff. Id. at 198–200.

36. At the hearing, Plaintiff’s counsel stated, “if it’s a suspension for more than 30 days or a

   termination that goes to him.” Oral Resp. Tr. at 199:13–14.

37. The reference to “him” at line 14 of page 199 of the Oral Response Transcript is a reference

   to the Attorney General. Oral Resp. Tr. at 198–99.

38. The next day, Plaintiff, through counsel, submitted an eleven-page, single-spaced letter

   responding to the notice of proposed removal. Letter from Bromwich to Schools (“Resp.

   Letter”) (March 16, 2018) (attached as Ex. 5).

39. The letter submitted by Plaintiff’s counsel refers to Plaintiff as the Deputy Director of the

   FBI. Id. at 1.

40. In neither his oral nor written response did Plaintiff raise concerns with the Attorney

   General’s involvement in the decision-making process. See Oral Resp. Tr.; Response

   Letter.

41. ADAG Schools issued a written recommendation to the Attorney General. Memo. from

   ADAG Schools to the Attorney General (“ADAG Rec.”), at 1–6 (Mar. 16, 2018) (attached

   as Ex. 6).

42. ADAG Schools’ recommendation states that its purpose is to “provide a recommendation

   regarding the proposed removal of FBI Deputy Director Andrew G. McCabe.” Id. at 1.




                                             6
    Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 47 of 48




43. In his written recommendation, ADAG Schools recommended that the Attorney General

   “sustain the charge[s] that Mr. McCabe [(i)] lacked candor” under oath in his interview

   with OIG, (ii) lacked candor not under oath in his interview with Inspection Division

   Agents, and (ii) authorized the disclosure of an on-going FBI investigation in contravention

   of FBI policy. Id. at 1–6.

44. ADAG Schools concluded that the OIG’s finding that Plaintiff lacked candor in his

   conversation with former FBI Director James Comey was not supported by a

   preponderance of the evidence. Id. at 5.

45. ADAG Schools recommended that Plaintiff be “dismissed from the rolls of the FBI.” Id.

   at 6.

46. ADAG Schools based his dismissal recommendation, in part, on the fact that the “standard

   penalty for lack of candor under oath is dismissal.” Id.

47. ADAG Schools also stated that “[t]he substantiated findings of lack of candor under oath

   are compounded by the finding of lack of candor not under oath, and the unauthorized

   disclosure finding.” Id.

48. ADAG Schools noted, “as Ms. Will [had] observed,” that Mr. McCabe “was the second

   highest-ranking official in the FBI, and he [wa]s expected to handle himself with utmost

   integrity.” Id.

49. On March 16, 2018, the Attorney General adopted the recommendation of ADAG Schools

   that Mr. McCabe be removed. Compl. ¶ 38; ADAG Rec. at 6.

50. The Attorney General wrote: “For the reasons stated in the foregoing recommendation, I

   have decided that Andrew G. McCabe should be removed from the Federal Bureau of

   Investigation and from the civil service.” Id.



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       Case 1:19-cv-02399-RDM Document 23 Filed 11/01/19 Page 48 of 48




   51. Mr. McCabe’s removal was effective on March 16, 2018. Id.




Dated: November 1, 2019                         Respectfully submitted,

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